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8
                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
      DIGITAL VERIFICATION SYSTEMS,
      LLC
12
                                                        Case No. 5:22−cv−00686−JWH−SP
                                     Plaintiff,
13
                                                        ANSWER, AFFIRMATIVE DEFENSE, AND
14
                      v.                                COUNTERCLAIMS
15    ENCYRO, INC.
16                                   Defendant.
17

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19

20
              ENCYRO’S ANSWER, AFFIRMATIVE DEFENSE, AND COUNTERCLAIMS
21

22
              Defendant Encyro, Inc. (“Encyro”) hereby respectfully responds to Plaintiff’s Complaint, Dkt.
23

24   No. 1.

25                                      PARTIES AND JURIDICTION
26
              1.     Admit this is an action for patent infringement. Acknowledge that Plaintiff (DVS”)
27
     appears to be seeking an injunction. Denied that DVS is entitled to an injunction.
28

                                                  Answer, AD, & CCs
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1           2.       Admitted.

2           3.       Encyro lacks knowledge or information sufficient to form a belief about the truth of
3
     this allegation, and on that basis denies same (hereafter, “denied pursuant to Rule 8(b)(5)”).
4
            4.       Admitted.
5
            5.       Encyro will not dispute personal jurisdiction in this matter but denies any acts of
6

7    infringement.

8           6.       Admit that Encyro offers its platform for sale worldwide, including in this district.
9
     Denied that such fact is relevant for jurisdiction. Denied as to infringement.
10
                                                     VENUE
11
            7.       Although DVS’ stated facts are largely irrelevant to the venue calculus, Encyro does
12

13   not dispute venue for this matter.

14                                                  COUNT I
15
                               (INFRINGEMENT OF US PATENT NO. 9,054,860)
16
            8.       No response required.
17
            9.       Admitted.
18

19          10.      Denied pursuant to Rule 8(b)(5).

20          11.      Admitted.
21
            12.      Denied that the ’860 Patent is valid. The remaining facts are denied pursuant to Rule
22
     8(b)(5).
23
            13.      Denied.
24

25          14.      Encyro provides an email encryption and secure file sharing service that you may

26   access from any web browser, or from Outlook. Admitted that as part of that service some electronic
27   signature functionality is provided. Admitted that the screenshots provided by DVS appear to be
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1    from Encyro’s website.1 As for the remaining facts, denied.

2           15.       Admitted that the screenshots provided by DVS appear to be from Encyro’s website.
3
     As for the remaining facts, denied.
4
            16.       Admitted that the screenshots provided by DVS appear to be from Encyro’s website.
5
     As for the remaining facts, denied.
6

7           17.       Admitted that the screenshots provided by DVS appear to be from Encyro’s website.

8    As for the remaining facts, denied.
9
            18.       Admitted that the screenshots provided by DVS appear to be from Encyro’s website.
10
     As for the remaining facts, denied.
11
            19.       Admitted that the screenshots provided by DVS appear to be from Encyro’s website.
12

13   As for the remaining facts, denied.

14          20.       Admit that Encyro will continue to offer its platform. Denied that DVS is entitled to
15
     an injunction.
16
            21.       Denied.
17

18

19                              AFFIRMATIVE DEFENSE: FAILURE TO MARK

20          1.        DVS is not entitled to pre-suit damages as it has failed to follow the requirements of
21
     Section 287.
22
                                               COUNTERCLAIMS
23
                                   PARTIES, VENUE, AND JURIDICTION
24

25          1.        Counterclaimant Encyro is a California Corporation with a principal place of business

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27   1
       This paragraph and the majority of DVS’ Complaint violates Rule 10, “A party must state its claims
28
     or defenses in numbered paragraphs, each limited as far as practicable to a single set of
     circumstances.”
                                                 Answer, AD, & CCs
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1    in this District.

2             2.         Upon information and belief, counterclaim-defendant DVS is Texas LLC with its
3
     principal place of business in Fort Lauderdale, Florida.
4
              3.         This Court has jurisdiction over DVS because it filed its Complaint in this District.
5
              4.         This Court has subject matter jurisdiction over Encyro’s counterclaims under Rule
6

7    13(a).

8             5.         Venue is proper as the counterclaims based on 28 U.S.C. § 1391.
9
                                               COUNTERCLAIM NO. 1:
10
                                                    Non-Infringement
11
              6.         As part of its pre-suit due diligence, Plaintiff DVS or its representatives visited
12

13   encyro.com.

14            7.         Plaintiff DVS or its representatives reviewed the electronic signature teachings on
15
     encyro.com.
16
              8.         In the ’860 Patent, FIG. 6 is a schematic representation of one embodiment of the
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     digital identification module of said specification.
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19            9.         This image is an accurate representation of Figure 6 from the ’860 Patent:

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1           10.     The ’860 Patent states, “as illustrated in FIG. 6, the digital identification module 20 of

2    at least one embodiment of the present system 10 includes a primary component 22 and one or more
3
     corresponding metadata components 24.”
4
            11.     Claim 1 limitation (d) states, “said at least one digital identification module
5
     comprising at least one primary component structured to at least partially associate said digital
6

7    identification module with said at least one entity.”

8           12.     The Accused Product does not have at least one digital identification module
9
     comprising at least one primary component structured to at least partially associate said digital
10
     identification module with said at least one entity.
11
            13.     Further, the Accused Product does not have at least one digital identification module
12

13   that is cooperatively structured to be embedded within only a single electronic file.

14          14.     To name but two examples of non-infringement.
15
                                           COUNTERCLAIM NO. 2:
16
                                          Invalidity (§§ 102, and 103)
17
            15.     The priority date of the ’860 Patent is January 2, 2008.
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19          16.     DVS did not invent digital signatures.

20          17.     Leigh Rothschild did not invent digital signatures.
21
            18.     In 1976 Whitfield Diffie and Martin Hellman first described the idea of a digital
22
     signature scheme, but they only theorized that such schemes existed.
23
            19.     In 1977, Ronald Rivest, Adi Shamir and Len Adleman invented the RSA algorithm,
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25   which could be used to produce a kind of primitive digital signature.

26          20.     In 1988, Lotus Notes 1.0, which used the RSA algorithm, became the first widely
27   marketed software package to offer digital signatures.
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1              21.   In 1999, The ability to embed digital signatures into documents is added to PDF

2    format.
3
               22.   In 2000, The ESIGN Act makes digital signatures legally binding.
4
               23.   In 2002, SIGNiX is founded and becomes the most broadly used cloud-based digital
5
     signature software.
6

7              24.   The first widely marketed software package to offer digital signature was Lotus Notes

8    1.0, released in 1989.
9
               25.   DocuSign started offering electronic or digital signatures in 2003.
10
               26.   In reversing the Examiner during the original prosecution of the ’860 Patent, the
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     PTAB stated, “Accordingly, the Examiner has not persuasively explained how Caphyon’s digital
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13   certificate with a validity period teaches “within only a single electronic file” (emphasis added by

14   PTAB).
15
               27.   Employing technology that limits electronic signatures to “only a single electronic
16
     file” is a simple solution.
17
               28.   Employing technology that limits electronic signatures to “only a single electronic
18

19   file” would have been obvious to a person of skill in the art (“POSITA”).

20             29.   Employing technology that limits electronic signatures to “only a single electronic
21
     file” is not a complex solution.
22
               30.   Based on the above, including the ESIGN ACT and DocuSign, the asserted claims are
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     anticipated and/or obvious.
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25                                         COUNTERCLAIM NO. 3:

26                                          Section 101 Ineligibility
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1              31.   During the ’860 prosecution history (“PxHx”), on or about February 1, 2011,

2    Examiner Louie rejected Claim Nos. 1-44 pursuant to 35 U.S.C. ¶101 (“Section 101”).
3
               32.   During the ’860 PxHx, on or about April 5, 2011, applicant Rothschild by and through
4
     his counsel (“applicants”) amended at least claim 1 to add the following language, “said at least one
5
     digital identification module is cooperatively structured to be embedded within only a single
6

7    electronic file”.

8              33.   During the ’860 PxHx, on or about April 5, 2011, applicants stated, “A software
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     module/component, per se, is incapable of creating a digital identification module.”
10
               34.   During the ’860 PxHx, on or about April 5, 2011, applicants stated, “In fact, a
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     software, per se, is incapable of performing any function. Only when software is coupled to hardware
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13   is software capable of performing a particular function.”

14             35.   During the ’860 PxHx, on or about April 5, 2011, applicants stated, “Therefore,
15
     properly construed, the claimed ‘module generating assembly’ must include hardware, and thus,
16
     independent claims 1 and 24 are directed to statutory subject matter within the meaning of 35 U.S.C.
17
     § 101.”
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19             36.   During the ’860 PxHx, on or about April 5, 2011, applicants stated, “The claimed

20   limitations refer to ‘a single electronic file’ (emphasis added).” (emphasis added by applicants.)
21
               37.   Applicants made the statement quoted in paragraph 36 to overcome the prior art cited
22
     by the Examiner.
23
               38.   During the ’860 PxHx, on or about June 15, 2011, the Examiner again rejected at least
24

25   Claim 1 citing Section 101.

26             39.   During the ’860 PxHx, on or about October 27, 2011, applicants filed an Appeal Brief
27   before the Board of Patent Trials and Interferences (“the Board”).
28

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1           40.     Regarding Section 101, in their Appeal Brief, applicants stated, “A software

2    module/component, per se, is incapable of creating a digital identification module. In fact, a software,
3
     per se, is incapable of performing any function. Only when software is coupled to hardware is
4
     software capable of performing a particular function. Therefore, properly construed, the claimed
5
     ‘module generating assembly’ must include hardware, and thus, independent claims 1 and 24 are
6

7    directed to statutory subject matter within the meaning of 35 U.S.C. § 101.”

8           41.     Patent claims covering software and hardware can be patent ineligible.
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            42.     Am. Axle & Mfg. v. Neapco Holdings LLC, 967 F.3d 1285 (Fed. Cir. 2019) issued
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     before DVS filed the instant complaint.
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            43.     During the ’860 PxHx, on or about November 28, 2014, the Board made the following
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13   finding:

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1            44.     The mere fact alone that a claim contains hardware is not sufficient to render it patent

2    eligible.
3
             45.     During the ’860 PxHx, on or about November 28, 2014, the Board did not follow the
4
     test set forth in Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 573 U.S. 208, 134 S. Ct. 2347 (2014)
5
             46.     The claims of the ’860 Patent are drawn to abstract subject matter and no
6

7    technological advancement saves the claims at step two of Alice.

8                                        REQUEST FOR JURY TRIAL
9
             Encyro requests a jury trial for all issues so triable.
10
                                             PRAYER FOR RELIEF
11
             Encyro respectfully requests the following relief:
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13       1. An order invalidating all asserted claims;

14       2. An order finding the asserted claims unenforceable;
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         3. An order finding that the accused products do not infringe the asserted claims;
16
         4. All fees and costs pursuant to 35 U.S.C. §285 and 29 U.S.C. §1927.
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19                                                                     Respectfully submitted,
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22                                                                     Rachael D. Lamkin

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                                                                       Attorney for Defendant
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                                                  Answer, AD, & CCs
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1                                       CERTIFICATE OF SERVICE

2    I hereby certify that on this 17th day of June, 2022, a true and accurate copy of the above and
3
     foregoing:
4
                    ANSWER, AFFIRMATIVE DEFENSE, AND COUNTERCLAIMS
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     Was filed with the Court’s CM/ECF system, which provides service to all counsel of record.
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                                                                                      Rachael D. Lamkin
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                                                Answer, AD, & CCs
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